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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


 MARIA SUAREZ-TORRES, et al.,

         Plaintiffs,
                                                             CIVIL NO. 16-1882 (PAD)
                 v.

 SANDIA, LLC.,

         Defendant.


                                            JUDGMENT

       In accordance with the Orders issued at Docket Nos. 37 and 74, judgment is hereby entered

dismissing plaintiffs’ claims with prejudice, without imposition of costs or attorney’s fees.

       This case is now closed for statistical purposes.

       SO ORDERED.

       In San Juan, Puerto Rico, this 6th day of February, 2018.

                                                       s/Pedro A. Delgado-Hernández
                                                       PEDRO A. DELGADO-HERNÁNDEZ
                                                       United States District Judge
